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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

ALICE PLAIR and PAULA RIDEAU,                     §
as next friend if J.P., a minor child, and as     §
the representative of the Estate of Johnny Ray    §
Plair, II,                                        §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §                  1:20-CV-934-RP
                                                  §
                                                  §
HOUSING AUTHORITY OF THE CITY                     §
OF AUSTIN, and PATHWAYS ASSET                     §
MANAGEMENT, INC.,                                 §
                                                  §
               Defendants.                        §

                                      FINAL JUDGMENT

       On May 23, 2023, the parties notified the Court that they had settled their claims and no

outstanding issues remain in this case. Accordingly, the Court renders the following Final Judgment

pursuant to Federal Rule of Civil Procedure 58.

       IT IS ORDERED that this case is CLOSED.

       SIGNED on August 8, 2023.




                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
